957 F.2d 912
    294 U.S.App.D.C. 163
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of America.v.DeWayne SHORTER, Appellant.
    Nos. 89-3186, 90-3157.
    United States Court of Appeals, District of Columbia Circuit.
    Feb. 28, 1992.
    
      Before MIKVA, Chief Judge, and RUTH BADER GINSBURG and D.H. GINSBURG, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the revised motion pursuant to Anders v. California, the memorandum in support thereof and the lack of response thereto, it is
    
    
      2
      ORDERED that the motion to withdraw as counsel be granted.   See McCoy v. Court of Appeals of Wisconsin, 486 U.S. 429, 441-44 (1988);   Anders v. California, 386 U.S. 738 (1967);   Suggs v. United States, 391 F.2d 971 (D.C.Cir.1968).   It is
    
    
      3
      FURTHER ORDERED, on the court's own motion, that this appeal be dismissed.   An independent review of the record indicates that there are no nonfrivolous issues for appeal.   See Suggs, 391 F.2d at 978.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    